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                             United States District Court
                             Southern District of Florida

    United States of America,             )
    Plaintiff                             )
                                          )
    v.                                    )
                                            Criminal Case No. 16-20549-CR-Scola
                                          )
    Philip Esformes,                      )
    Defendant.                            )


                Order Setting Status Conference – Ends of Justice

          On April 26, 2021 this matter came before the Court for telephonic status
   conference to set trial date. Based on the matters presented and argument of
   counsel, it is hereby
          Ordered and Adjudged as follows:
          1) The interests of justice served by a continuance outweigh any interest
   of the public or the Defendant in a speedy trial. As a result, the period of delay
   resulting from this continuance C i.e., from April 26, 2021 until February 7,
   2022, and until after the appeal of his convictions C is excludable time under
   18 U.S.C. ' 3161(h)(1) and 18 U.S.C. ' 3161(h)(7) of the Speedy Trial Act.
          2) This cause is set for telephonic status conference on February 7, 2022
   at 8:30 a.m. to set a trial date before the Honorable Robert N. Scola, Jr., United
   States District Judge, at 400 North Miami Avenue, Courtroom 12-3, Miami,
   Florida.
          3) Due to the coronavirus, the status conference shall be conducted only
   telephonically. Attorneys shall call preferably from a land-line, toll free 1-888-
   684-8852 five minutes prior to the scheduled time, enter access code 5939288
   followed by the # sign, and then security code 2525 followed by the # sign.
          Done and Ordered in Chambers at Miami, Florida, on April 26, 2021.


                                        _______________________________
                                        Robert N. Scola, Jr.
                                        United States District Judge

   cc:   counsel of record
